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UNITED STATES DISTRICT COURT:
NORTHERN DISTRICT OF TEXAS |
FORT WORTH DIVISION

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CLERK, US. DISTRICT COURT

 

UNITED STATES OF AMERICA

VS. CRIMINAL NO, 4:21-CR-280-Y

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SELVIN OMAR CANALES (01)

REPORT OF ACTION AND RECOMMENDATION ON PLEA
BEFORE THE UNITED STATES MAGISTRATE JUDGE

This Report of Action on Plea is submitted to the court pursuant to 28 U.S.C. § 636(b)(3).
This case has been referred by the United States district judge to the undersigned for the taking of
a guilty plea. The parties have consented to appear before a United States magistrate judge for
these purposes.

The defendant appeared with counsel before the undersigned United States magistrate
judge who addressed the defendant personally in open court and informed the defendant of, and
determined that the defendant understood, the admonitions contained in Rule 11 of the Federal
Rules of Criminal Procedure.

The defendant pied guilty to count one of the one-count indictment charging defendant
with the violation of 8 U.S.C. § 1326(a) and (b)(2). The undersigned magistrate judge finds the
following:

1. The defendant, upon advice of counsel, has consented orally and in writing to

enter this guilty plea before a magistrate judge subject to Anal approval and

sentencing by the presiding district judge;

2. The defendant fully understands the nature of the charges and penalties;

3. The defendant understands all constitutional and statutory rights and wishes to

waive these rights, including the right to a trial by jury and the right to appear before
a United States district judge;

4, The defendant’s plea is made freely and voluntarily;
5. The defendant is competent to enter this plea of guilty;

6. There is a factual basis for this plea; and
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7, The ends of justice are served by acceptance of the defendant’s plea of guilty.

Although I have conducted these proceedings, accepted the defendant’s plea of guilty, and
pronounced the defendant guilty in open court, upon the defendant’s consent and the referral from
the United States district judge, that judge has the power to review my actions in this proceeding
and possesses final decision making authority. Thus, if the defendant has any objections to the
findings or any other action of the undersigned he should make those known to the United States
district judge within fourteen days of today.

[recommend that defendant’s plea of guilty be accepted and that the defendant be adjudged
guilty by the United States district judge and that sentence be imposed accordingly.

SIGNED October 27, 2021,

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HAL R. RAY JR.
UNITED STATES MAGISTRATE JUDGE
